Case 2:18-cv-00418-SPC-MRM Document 44 Filed 06/02/20 Page 1 of 2 PageID 349



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

RAYVON L. BOATMAN,

                  Plaintiff,

v.                                                          Case No.: 2:18-cv-418-FtM-38MRM

DONALD SAWYER, REBECCA
JACKSON, M. JOHNSON, JOHN
DOE HERNANDEZ, JANE DOE
MORRIS, GEO GROUP, INC.
DIRECTORS, CORRECT CARE
RECOVERY SOLUTIONS
DIRECTORS, THE DEPARTMENT
OF CHILDREN AND FAMILY
SERVICE, THE FLORIDA CIVIL
COMMITMENT CENTER
DIRECTORS, MALINDA MASTERS,
JORGE DOMENICI, WILLIAM H.
JAYNES, DALE W. FRICK, LAURA
K. LEONARD, DOROTHY RIDDLE
and SARAH SENTER,

                Defendants.
                                                 /

                                      OPINION AND ORDER1

        This matter is before the Court on sua sponte review of the file. On May 12, 2020,

the Court dismissed Plaintiff’s First Amended Complaint as a shotgun pleading and

directed Plaintiff to file an amended complaint limited to a First Amendment retaliation

claim. (Doc. 40). The Court provided Plaintiff with a reasonable opportunity to respond

to the Order and Plaintiff was put on notice that the case would be dismissed if he failed




1 Disclaimer: Documents hyperlinked to CM/ECF are subject to PACER fees. By using hyperlinks, the
Court does not endorse, recommend, approve, or guarantee any third parties or the services or products
they provide, nor does it have any agreements with them. The Court is also not responsible for a hyperlink’s
availability and functionality, and a failed hyperlink does not affect this Order.
Case 2:18-cv-00418-SPC-MRM Document 44 Filed 06/02/20 Page 2 of 2 PageID 350



to comply. As of the date on this Order, Plaintiff has neither complied with the Court’s

Order, nor sought an enlargement of time to do so. Thus, the Court finds Plaintiff has

failed to prosecute this case and that the case is due to be dismissed without prejudice

under M.D. Fla. Rule 3.10(a).      Because the Court is dismissing this action without

prejudice, Plaintiff may file a new complaint if he wishes to pursue his claim.

       Accordingly, it is now

       ORDERED:

       1. Plaintiff Rayvon Boatman’s case is DISMISSED without prejudice.

       2. The Clerk of Court shall enter judgment, terminate any pending motions as

          moot, and close the file.

       DONE and ORDERED in Fort Myers, Florida this 2nd day of June 2020.




SA: FTMP-2
Copies: All Parties of Record




                                             2
